                                                                                                             E-FILED
Judgment in a Civil Case (02/11)                                             Friday, 25 September, 2015 05:06:11 PM
                                                                                        Clerk, U.S. District Court, ILCD
                                   UNITED STATES DISTRICT COURT
                                                       for the
                                              Central District of Illinois


         Paul E Kincaid,                           )
                              Plaintiff,           )
                                                   )
                              vs.                  )              Case Number: 09-3053
                                                   )
         Sangamon County, Illinois, Sangamon       )
         County Sheriff’s Department, Sangamon     )
         County Jail, The U.S. Marshals Service,   )
         U S M Jeff Cowdrey, Neil Williamson,      )
         Terry Durr, Ron Beckner, William Strayor, )
         Officer C. Cain, Mr. Rosenbeck, Dr Joseph )
         Maurer, Lee Ann Brauer, C. Taylor,        )
         LPN L Ramsey, Unidentified Employees,     )
         Guards and Medical Staff,                 )
                              Defendants.          )


                                         JUDGMENT IN A CIVIL CASE

             ☒ JURY VERDICT.          This action came before the Court for a trial by jury.    The issues
         have been tried and the jury has rendered its verdict.


             ☐ DECISION BY THE COURT.              This action came to trial or hearing before the Court.
         The issues have been tried or heard and a decision has been rendered.


               IT IS ORDERED AND ADJUDGED, pursuant to the jury verdict rendered on
         9/22/2015, judgment is entered in favor of Defendants Terry Durr, Ron Beckner, William Strayer,
         Candace Cain, Joseph Maurer, Lee Ann Brauer, and Lucy Ramsey.-------------------------------------

              6/5/2012 ----- Pursuant to the Opinion entered by Judge Sue E. Myerscough, Defendants
         Sangamon County Jail and The U.S. Marshals Service were terminated.

              12/14/2012 ----- Pursuant to the Text Order entered by Judge Sue E. Myerscough,
         Defendants Taylor and Rosenbeck were terminated.

              3/10/2014 ----- Pursuant to the Opinion entered by Judge Sue E. Myerscough, Defendants
         Unidentified Employees, Guards and Medical Staff were terminated.
Judgment in a Civil Case (02/11)


              6/4/2014 ----- Pursuant to the Text Order entered by Judge Sue E. Myerscough, Defendants
         Sangamon County Sheriff’s Department and Sangamon County, Illinois were terminated.

              8/3/2015 ----- Pursuant to the Opinion entered by Judge Sue E. Myerscough, Defendant
         Neil Williamson was terminated.

               9/11/2015 ----- Pursuant to the Order entered by Judge Tom Schanzle-Haskins, Defendant
         Jeff Cowdrey was terminated.


         Dated: September 25, 2015


                                                    s/ Kenneth A. Wells
                                                    Kenneth A. Wells
                                                    Clerk, U.S. District Court
